             Case 3:19-cv-04613-WHA Document 84 Filed 03/14/21 Page 1 of 11




 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2
   SARA WINSLOW (DCBN 457643)
 3 Chief, Civil Division

 4 JULIE BIBB DAVIS (CABN 184957)
   Assistant United States Attorney
 5
          1301 Clay Street, Suite 340S
 6        Oakland, California 94612
          Telephone: (510) 637-3680
 7        FAX: (510) 637-3724
          Julie.davis@usdoj.gov
 8
   Attorneys for Federal Defendants
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   EASTON STOKES,                         )   CASE NO. C-19-cv-04613 WHA
                                            )
14          Plaintiff,                      )   SUPPLEMENTAL BRIEFING IN SUPPORT OF
                                            )   FEDERAL DEFENDANTS’ MOTION FOR
15     v.                                   )   SUMMARY JUDGMENT
                                            )
16   UNITED STATES OF AMERICA               )
     DEPARTMENT OF JUSTICE, et al.,         )
17                                          )
            Defendants.                     )
18                                          )

19

20

21

22

23

24

25

26

27

28
                                                0
     SUPPLEMENTAL BRIEFING IN SUPPORT OF FEDERAL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     19-CV-04613 WHA
             Case 3:19-cv-04613-WHA Document 84 Filed 03/14/21 Page 2 of 11




 1                        INTRODUCTION AND PROCEDURAL BACKGROUND

 2          Plaintiff Easton Stokes (“Plaintiff”) is prohibited from possessing a firearm under 18 U.S.C.

 3 § 922(g)(4) because it is undisputed that he was involuntarily committed for mental health treatment

 4 pursuant to California law. Complaint at ¶¶ 25-26 (Dkt. No. 1). The Ninth Circuit has recently held, in

 5 a published opinion, both that section 922(g)(4) is constitutional under the Second Amendment, and that

 6 the continued prohibition on the possession of firearms by a plaintiff who, like Plaintiff Stokes, was

 7 committed some years ago, survives an as applied challenge to section 922(g)(4). Mai v. United States,

 8 952 F.3d 1106, 1120-1121 (9th Cir. 2020), pet. for rehearing en banc denied (Sept. 10, 2020, Case. No.

 9 18-35071, Dkt. No. 42). Moreover, the Ninth Circuit also held that section 922(g)(4)’s prohibition is

10 constitutional where, as here, a plaintiff has no potential avenues for relief from the section 922(g)(4)

11 prohibition under federal law. Id.

12          Based on this clear authority, Federal Defendants moved for summary judgment in this matter.

13 Dkt. No. 60. State Defendants moved for judgment on the pleadings (Dkt. No. 61), and Plaintiff

14 opposed both motions. After oral argument, the Court issued an order for further discovery and

15 development of the record. Dkt. No. 68. The Court stated that while “[t]his action is probably

16 foreclosed by Mai v. United States,” additional evidence was needed before ruling on the pending

17 motions by Federal and State Defendants. Id.

18          Specifically, the Court ordered Plaintiff to file a petition requesting relief from his involuntary

19 commitment status in a California state court. Plaintiff was also ordered to submit a declaration

20 regarding various issues, which he did on November 5, 2020. Dkt. No. 73. Plaintiff also filed certain

21 medical records. Dkt. No. 79. Defendants were ordered to depose Plaintiff, which they did on

22 November 20, 2020. Deposition of Easton Stokes (“Stokes Depo.”), attached here as Exhibit 1.

23          The Court requested supplemental briefing regarding how the additional evidence might impact

24 the legal analysis. Dkt. No. 68. Subsequently, the Court also ordered the briefing to specifically address

25 Plaintiff’s “claims for equal protection and due process, in addition to the Second Amendment claim.”

26 Dkt. No. 81. Pursuant to these orders, Federal Defendants now submit this supplemental briefing in

27 support of their motion for summary judgment. Federal Defendants also incorporate all of their prior

28
                                                          1
     SUPPLEMENTAL BRIEFING IN SUPPORT OF FEDERAL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     19-CV-04613 WHA
                  Case 3:19-cv-04613-WHA Document 84 Filed 03/14/21 Page 3 of 11




 1 briefing. See, e.g., Dkt. Nos. 60, 65.

 2                                                   ARGUMENT

 3       I.         PLAINTIFF’S COMMITMENT WAS NOT VOLUNTARY

 4            Federal Defendants continue to maintain that Plaintiff’s commitment was involuntary as a matter

 5 of law under the relevant California statute. See Cal. Welf. & Inst. Code § 5250. This is not a factual

 6 dispute; as he avers in his Complaint, Plaintiff’s commitment to Oakcrest was pursuant to a “5250

 7 certification,” (Complaint at ¶ 25), which specifically applies to people who have “not been willing or

 8 able to accept, treatment on a voluntary basis,” and thus constitutes an involuntary commitment under

 9 California law. Cal. Welf. & Inst. Code. § 5250. Furthermore, Plaintiff admits that he never appealed

10 the determination that he was involuntarily committed, even though he was entitled to do so under

11 California law. Cal. Welf. & Inst. Code § 5275, et seq. 1 Accordingly, he is prohibited from possessing

12 firearms pursuant to section 922(g)(4).

13            Furthermore, it is also clear from the additional discovery in this matter that Plaintiff’s

14 commitment was in fact involuntary. For example, Plaintiff’s deposition testimony reveals both that the

15 commitment was involuntary and that he was aware of that fact. Plaintiff states in his deposition that his

16 commitment was due to a “drug-induced psychotic episode” after taking “psilocybin mushrooms.”

17 Stokes Depo. at 68, 84, 85. Plaintiff testified that after he was transferred from Kaiser to Oakcrest, “I

18 gave up my rights to make decisions” in part because “I didn’t know what was real, what wasn’t real.”
19 Stokes Depo. at 106. When questioned again to clarify whether he “gave up [his] rights to make

20 decisions”, Plaintiff testified: “I did. I believe it was either here at Kaiser or it was at Oakcrest, but I

21 believe it was at Kaiser. That’s when I gave up my decision to make – my consent to make decisions for

22 me.” Stokes Depo. at 107-08.

23            Plaintiff also stated that during his commitment at Oakcrest, he was told he would have to

24 petition in order to be discharged, which confirms that Plaintiff was aware that he was unable to leave

25 voluntarily. As Plaintiff testified:

26                           I do remember an evaluation with a doctor and he let me know that

27            1
           Federal Defendants understand that Plaintiff has now filed a Petition in state court addressing
28 his commitment, and that he expects a hearing on the Petition in April 2021.
                                                      2
     SUPPLEMENTAL BRIEFING IN SUPPORT OF FEDERAL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     19-CV-04613 WHA
             Case 3:19-cv-04613-WHA Document 84 Filed 03/14/21 Page 4 of 11




 1                  I could petition to get out. And I asked him, I said “I don’t really feel
                    comfortable making this choice myself. What are your thoughts? Am I
 2                  better?”
 3
                           And he said “No. I think you need to stay additional to get more
 4                  treatment.”

 5                         So I never questioned getting out or leaving. I felt like I needed
                    help. And the only way to get it was to follow the advice of the doctors.
 6
     Stokes Depo. at 116-17.
 7
            Plaintiff also testified that he believed he would need a court hearing to be released, further
 8
     confirming both the involuntariness of the commitment and Plaintiff’s knowledge of the involuntary
 9
     status. When asked why he did not request a court hearing during his time at Oakcrest, Plaintiff stated:
10
                             A.      I believe that to request a court hearing would be to get out,
11                  but I didn’t have any interest in just getting out. I wanted to get better. So
                    it just didn’t seem – it didn’t make sense to try to get out. I knew that I
12                  needed help.
13 Stokes Depo. at 121.

14          Plaintiff was subsequently questioned:
15                          Q.     So but was it your understanding that to get out, you would
                    have to have a court hearing or something like that to get out as opposed
16                  to just walking out the door, you’re 18, you’re an adult you can leave?
17                          A.      Yeah. I believe there was a process. My memory to
                    knowing it then, I believe it was explained to me that there would be a
18                  process to make an appeal of some sort, but to get out wasn’t just walking
                    out the front door.
19
     Stokes Depo. at 121-22.
20
            Under California law, section 5250 commitments are designed for those who are “a danger to
21
     others, or to himself or herself, or gravely disabled.” Cal. Welf. & Inst. Code § 5250(a). The record
22
     confirms that Plaintiff was aware he was subject to an involuntarily commitment; in addition, the record
23
     contains evidence of Plaintiff’s self-harm and danger to others that were presumably factors in
24
     Plaintiff’s involuntary commitment subsequent to his self-described drug-induced psychosis. For
25
     example, on his intake form for chemical dependency at Kaiser, his presenting problems included:
26
                    [D]rinking and smoking pot but he “freaked out” b/c of his anger and
27                  guilt. “It was a boiling point.” [He] put his hands in a fire (to get out of
                    his guilt), punched his biggest friend & apparently kissed a male. [He]
28
                                                           3
     SUPPLEMENTAL BRIEFING IN SUPPORT OF FEDERAL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     19-CV-04613 WHA
                     Case 3:19-cv-04613-WHA Document 84 Filed 03/14/21 Page 5 of 11




 1                       reports “blacking out” from anger.

 2 Dkt. No. 79 at 7. In addition, Plaintiff’s intake form indicated that he reported use of alcohol and

 3 marijuana since elementary school, both auditory and visual hallucinations, a significant family history

 4 of mental illness and drug use, anger at self, and months of decompensating prior to his initial intake at

 5 Kaiser’s Chemical Dependency Services. Dkt. No. 79 at 7-8. A subsequent Behavioral Medicine

 6 Consult Note confirmed a “probable 14 day hold.” Id. at 11. 2

 7               In sum, there is no dispute both that California law treats Plaintiff as having been involuntarily

 8 committed and that there was factual support for his involuntary commitment. Furthermore, Plaintiff’s

 9 own testimony confirms that he was aware of that determination at the time of his involuntary

10 commitment. That determination was not appealed, and it is not able to be re-opened collaterally here in

11 federal court. Because of his involuntary commitment, Plaintiff is properly subject to the restrictions on

12 gun possession contained in section 922(g)(4). Mai, 952 F.3d at 1111-1119; see also Heller v. Bedford

13 Cent. Sch. Dist. 665 F. App’x 49, 54 (2d Cir. 2016); United States v. McRobie, 2009 WL 82715 (4th Cir.

14 Jan. 14, 2009) (per curiam).

15         II.         FEDERAL DEFENDANTS ARE ENTITLED TO JUDGMENT ON PLAINTIFF’S
                       DUE PROCESS AND EQUAL PROTECTION CLAIMS
16
                 Plaintiff has not previously cited any caselaw in support of his due process and equal protection
17
     claims, and Federal Defendants have briefed in detail why those claims are without merit. Dkt. Nos. 60,
18
     65. In addition, Federal Defendants are entitled to judgment on those claims for the following reasons.
19
     ///
20

21
                 2
22             While this issue is not before the Court, there is testimony from Plaintiff that casts doubts on
     his current fitness for having Second Amendment rights restored for a reason other than his involuntary
23   commitment. For example, users of controlled substances are banned from firearms possession under 18
     U.S.C. § 922(g)(3). Plaintiff testified extensively as to his marijuana use and work in the marijuana
24   industry, including marijuana cultivation for commercial sale in his home for a number of years, and
     work at the Funny Farm hydroponics store, which was geared towards marijuana cultivators. Stokes
25   Depo.at 22-23, 27-30, 42-44. Marijuana remains a controlled substance under federal law. While
     Plaintiff testified that he stopped using marijuana in 2017, he also testified that he would consider using
26   it for pain in the future. Id. at 48-49. Petitioner has also had a misdemeanor conviction for firearms
     possession and a citation for unauthorized use of marijuana. Id. at 28-28, 32, 44-45, 52-53. Finally,
27   Petitioner has not had a mental health screening, evaluation, or treatment since 2002, despite his
     significant family history of mental illness, and his past drug-induced psychosis. Stokes Depo. at 62-63,
28   65-66; Dkt. No. 73 at 5.
                                                            4
     SUPPLEMENTAL BRIEFING IN SUPPORT OF FEDERAL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     19-CV-04613 WHA
              Case 3:19-cv-04613-WHA Document 84 Filed 03/14/21 Page 6 of 11




 1

 2          A. Any Substantive Due Process Challenge Is Redundant In The Face of Plaintiff’s Second
               Amendment Challenge
 3
            When, as here, a plaintiff asserts both an enumerated rights challenge and a substantive due
 4
     process challenge involving that enumerated right, the Supreme Court has typically analyzed the scope
 5
     of the enumerated right rather than the more general substantive due process claim. See, e.g., Graham v.
 6
     Connor, 490 U.S. 386, 395 (1989); Albright v. Oliver, 510 U.S. 266, 273 (1994). For example, in a
 7
     complaint alleging violations of both “the Fourth Amendment and Due Process Clause . . . we analyzed
 8
     the constitutionality of the challenged application of force solely by reference to the Fourth
 9
     Amendment’s prohibition . . . and hold that all claims that law enforcement officers have used excessive
10
     force . . . should be analyzed under the Fourth Amendment and its “reasonableness” standard, rather
11
     than under a ‘substantive due process’ approach.” Graham, 490 U.S. at 395 (emphasis in original). The
12
     Supreme Court reasoned that “[b]ecause the Fourth Amendment provides an explicit textual source of
13
     constitutional protection against this sort of physically intrusive governmental conduct, that
14
     Amendment, not the more generalized notion of ‘substantive due process’, must be the guide for
15
     analyzing these claims.” Id. So too here; because the Second Amendment provides “an explicit textual
16
     source of constitutional protection” with regards to firearm possession, that Amendment “must be the
17
     guide” for analyzing Plaintiff’s claims. Id.
18
            The Court affirmed this reasoning in Albright, explaining “[i]t was through these [enumerated]
19
     provisions of the Bill of Rights that their Framers sought to restrict the exercise of arbitrary authority by
20
     the Government in particular situations.” Albright, 510 U.S. at 273. Accordingly, a substantive due
21
     process challenge is redundant in the face of an asserted enumerated rights challenge, and where an
22
     enumerated rights challenge – including a Second Amendment challenge – more specifically addresses a
23
     claim, courts have dismissed substantive due process challenges. See, e.g., White v. City of New York,
24
     2018 WL 1545676 at *6 (E.D.N.Y. Mar. 29, 2018) (citing Albright and holding that “[t]o the extent that
25
     Plaintiff attempts to assert a separate ‘due process’ claim based on the same conduct that underlies his
26
     Fourth Amendment claims for false arrest and malicious prosecution, his claim is dismissed as
27
     duplicative”); Levys v. Shamlin, 2017 WL 5714027 at *3. (W.D. Pa. Nov. 28, 2017) (finding that
28
                                                           5
     SUPPLEMENTAL BRIEFING IN SUPPORT OF FEDERAL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     19-CV-04613 WHA
             Case 3:19-cv-04613-WHA Document 84 Filed 03/14/21 Page 7 of 11




 1 because the “Fourth Amendment is the explicit textual source of constitutional protection against

 2 unreasonable searches and seizures by the government and its agents . . . Plaintiff’s due process claims .

 3 . . are dismissed as duplicative to his Fourth Amendment claims”); Second Amendment Arms v. City of

 4 Chicago, 135 F. Supp. 3d 743, 762-63 (N.D. Ill. 2015) (finding no Second Amendment violation, and

 5 concluding that because “the right to sell firearms is a Second Amendment concern, . . . Plaintiff’s

 6 substantive due process challenge is dismissed, as Plaintiff must pursue these theories under his . . .

 7 Second Amendment claim[].”)

 8          The Ninth Circuit has also concluded that substantive due process claims are duplicative of

 9 enumerated rights claims. In Galbraith v. County of Santa Clara, 307 F.3d 1119, 1127 (9th Cir. 2002),

10 for example, the Court affirmed a dismissal of due process claims where a Fourth Amendment challenge

11 had also been asserted. Specifically, the Ninth Circuit agreed with the District Court “that Fourth

12 Amendment principles and not those of due process, govern this case” because “[the Fourth]

13 Amendment, not the more generalized notion of ‘substantive due process,’ must be the guide for

14 analyzing these claims.” Id. (citations omitted). Similarly, in Hawthorne v. Kernan, 2020 WL 6891819

15 at *5 (N.D. Cal. Nov. 24, 2020), the court cited Albright and held that “Plaintiff’s due-process claim

16 arising out of Defendant’s . . . alleged use of excessive force is preempted by the Eighth Amendment

17 and should not be analyzed as a substantive due process claim.” Accordingly, Plaintiff’s due process

18 claim was dismissed. Id. at *9.
19          Here, because Plaintiff has asserted a Second Amendment claim (which must be denied under

20 Mai), any related substantive due process challenge must be denied as duplicative. The gravamen of

21 Plaintiff’s claim is based on an “explicit textual source of constitutional protection” regarding

22 possession of firearms, Connor, 490 U.S. at 395, and thus he is pre-empted from asserting a due process

23 claim premised on the deprivation of that substantive right. Galbraith, 307 F.3d at 1127; see also

24 Nordyke v. King, 644 F.3d 776, 794 (9th Cir. 2011) (finding that “although the right to keep and bear

25 arms for self-defense is a fundamental right, that right is more appropriately analyzed under the Second

26 Amendment” than under the due process clause) (internal citation omitted), vacated by 681 F.3d 1041

27 (9th Cir. 2012) (en banc) (affirming the district court’s dismissal of the Second Amendment claim); Bell

28
                                                         6
     SUPPLEMENTAL BRIEFING IN SUPPORT OF FEDERAL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     19-CV-04613 WHA
                Case 3:19-cv-04613-WHA Document 84 Filed 03/14/21 Page 8 of 11




 1 v. United States, 2013 WL 5763219, at *3 (E.D. Pa. Oct. 24, 2013), aff’d, 574 F. App’x 59 (3d Cir.

 2 2014).

 3          B. Plaintiff’s Equal Protection Claim Is Without Merit

 4          Plaintiff’s equal protection claim is pled as follows:

 5                          The unconstitutionally broad ban on a certain class of individuals –
                    individuals who have been involuntarily committed – acquiring a firearm
 6                  without providing for a means to seek review and relief from such ban
                    violates Plaintiff’s right to equal protection of the laws guaranteed under
 7                  the Equal Protection Clause of the Fourteenth Amendment to the United
                    States Constitution.
 8
     Complaint at ¶ 57. Plaintiff also alleges that the same ban on the same class of individuals (individuals
 9
     who have been involuntarily committed) “violates Plaintiff’s right to equal protection of the laws
10
     guaranteed under the Due Process Clause of the Fifth Amendment of the United States Constitution.” 3
11
     Complaint at ¶ 52.
12
            As Federal Defendants have demonstrated, section 922(g)(4) and its application to Plaintiff
13
     withstands the intermediate scrutiny standard applied to Second Amendment claims. Dkt. Nos. 60, 65;
14
     Mai, 952 F.3d 1116-19. In addition, the Mai Court specifically held that the absence of a forum to
15
     demonstrate current fitness withstood intermediate scrutiny because even without an avenue of relief
16
     from a categorical, lifetime ban, “§ 922(g)(4) nevertheless remains a reasonable fit for the congressional
17
     goal of reducing gun violence.” Mai, 952 F.3d at 1120. The governmental interests of preventing
18
     violence, including suicide, that impacts an individual, families, and community, are powerful and
19
     compelling. Id. at 1120-21. The evidence of increased risk of suicides from those released from
20
     involuntary commitment (about 39 times the risk of those not previously committed), is significant. Id.
21
     at 1121.
22
            Numerous courts have held that when a law assessed under an enumerated rights challenge
23
     withstands strict or intermediate scrutiny, the law will also survive an equal protection challenge
24
     applying rational basis review. For example, in Kwong v. Bloomberg, 723 F.3d 160, 170 n.19 (2d Cir.
25

26
            3
27          An equal protection challenge brought under the Fifth Amendment is subject to the same
   analysis as an equal protection challenge under the Fourteenth Amendment. Golinski v. United States
28 Office of Pers. Mgmt., 824 F. Supp. 2d 968, 981 (N.D. Cal. 2012).
                                                       7
     SUPPLEMENTAL BRIEFING IN SUPPORT OF FEDERAL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     19-CV-04613 WHA
             Case 3:19-cv-04613-WHA Document 84 Filed 03/14/21 Page 9 of 11




 1 2013), the Court explained that where a litigant asserts corresponding Second Amendment and equal

 2 protection claims, and the Second Amendment claim fails, “courts have applied ‘rational basis’ review

 3 to Equal Protection claims on the theory that the Second Amendment analysis sufficiently protects one’s

 4 rights”) (citing authority); see also Jefferies v. Sessions, 278 F. Supp. 3d 831, 847 (E.D. Pa. 2017)

 5 (dismissing Plaintiff’s claim that section 922(g)(4) violated his Second Amendment rights, and also

 6 dismissing his “equal protection claim under the Fourteenth Amendment.”); Hightower v. City of

 7 Boston, 693 F.3d 61, 83 (1st Cir. 2012) (“Given that the Second Amendment challenge fails, the equal

 8 protection claim is subject to rational basis review.”); Nordyke v. King, 681 F.34 1041,1043 n.2 (9th Cir.

 9 2012) (en banc) (“As to the Nordykes’ equal protection claim, because the ordinance does not classify

10 shows or events on the basis of a suspect class, and because we hold that the ordinance does not violate

11 either the First or Second Amendments, rational basis scrutiny applies.”).

12          National Rifle Association v. McGraw, 719 F.3d 338, 348-50 (5th Cir. 2013), is also instructive.

13 The Fifth Circuit applied intermediate scrutiny and found that a Texas law prohibiting 18-20 year olds

14 from public carry of a handgun did not violate the Second Amendment. Id. Furthermore, because the

15 law did not target a suspect class, the plaintiff’s equal protection challenge was assessed under rational

16 basis review, which requires only that the law in question “be rationally related to a legitimate

17 government interest to survive an Equal Protection challenge.” Id at 350. Given that the law in question

18 “survives the more stringent intermediate scrutiny,” the Court also upheld the law “against plaintiffs’
19 equal protection challenge.” Id; see also SKF USA Inc. v. U.S. Customs & Border Protection, 556 F.3d

20 1337, 1360 (Fed. Cir. 2009) (holding that because the challenged Byrd Amendment “serves a substantial

21 government interest” and therefore is “valid under the First Amendment”, it also is “clearly not violative

22 of equal protection under the rational basis standard”); Currier v. Potter, 379 F.3d 716, 731-32 (9th Cir.

23 2004) (holding that, after the Court concluded that the “regulations [at issue] do not violate the First

24 Amendment, [the] equal protection challenge must fail” under a rational basis review).

25          Here, Plaintiff maintains that the class of people impacted by section 922g(4) is “individuals who

26 have been involuntarily committed.” Complaint at ¶¶ 52, 57. Plaintiff’s involuntary commitment was

27 based on his mental status, and the Supreme Court has consistently applied rational basis review to cases

28
                                                         8
     SUPPLEMENTAL BRIEFING IN SUPPORT OF FEDERAL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     19-CV-04613 WHA
             Case 3:19-cv-04613-WHA Document 84 Filed 03/14/21 Page 10 of 11




 1 involving persons who are mentally impaired or intellectually disabled. See Cleburne v. Cleburne

 2 Living Center, Inc., 473 U.S. 432 (1985); Schweiker v. Wilson, 450 U.S. 221 (1981); Heller v. Doe by

 3 Doe, 509 U.S. 312 (1993). 4 Because section 922g(4) survives constitutional challenge under the

 4 intermediate scrutiny applied to Second Amendment claims, Mai, 952 F.3d 1116-19, it must by

 5 definition survive a challenge under the lesser rational basis scrutiny applied to equal protection claims

 6 such as Plaintiff’s. See McGraw, 719 F.3d at 349-50.

 7          C. Plaintiff Cannot Show A Deprivation Of Any Procedural Due Process Right

 8          Plaintiff’s Complaint asserts that he “has been deprived of his right to keep and bear firearms

 9 without being afforded notice and an opportunity to be heard on the matter prior to the deprivation

10 and/or through a post-deprivation proceeding to seek review and relief from the deprivation.”

11 Complaint at ¶¶ 51, 58. To begin with, Plaintiff is not entitled “to a collateral attack in federal court on

12 a commitment he did not – and has not in any way – challenged in the state court.” United States v.

13 McIlwain, 772 F.3d 688, 698 (11th Cir. 2014). Furthermore, Plaintiff has not cited a single case in

14 support of his procedural due process claim, and courts that have considered the issue have confirmed

15 that such a claim is without merit when, as here, it is brought in conjunction with a section 922(g)

16 Second Amendment claim.

17          In Jefferies, for example, the court found that the plaintiff “does not have a Fifth Amendment

18 right to procedural due process before the United States applies § 922(g)(4) to him because of his
19 involuntarily commitment.” 278 F. Supp. 3d at 846. “The statute subsection is clear that anyone who

20 has been committed for mental health is subject to it; thus a hearing on whether the plaintiff is still

21 dangerous is not in fact relevant.” Id. (internal citation omitted); see also Culp v. Madigan, 270 F. Supp.

22 3d 1038, 1059 (C.D. Ill. 2017) (denying relief on the plaintiffs’ procedural due process claim and

23 holding that “because this Court has found no Second Amendment violation, Plaintiffs have not

24 demonstrated that they were deprived of a property or liberty interest.”)

25          In sum, given that there is no violation of a fundamental, enumerated right, Plaintiff is unable to

26
            4
27            Plaintiff has not cited and cannot cite any caselaw indicating that laws concerning the class of
     “individuals who have been involuntarily committed” would be subject to strict scrutiny review.
28
                                                          9
     SUPPLEMENTAL BRIEFING IN SUPPORT OF FEDERAL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     19-CV-04613 WHA
            Case 3:19-cv-04613-WHA Document 84 Filed 03/14/21 Page 11 of 11




 1 bring either a substantive or a procedural due process claim. Similarly, given that section 922g(4)

 2 survives constitutional challenge under the intermediate scrutiny applied to Second Amendment claims,

 3 Mai, 952 F.3d 1116-19, it must by definition survive a challenge under the lesser rational basis scrutiny

 4 applied to equal protection claims involving those involuntarily committed to a mental institution. See

 5 McGraw, 719 F.3d at 349-50. Judgment should be granted to Federal Defendants on Plaintiff’s equal

 6 protection and due process claims.

 7                                                  CONCLUSION

 8          For the foregoing reasons, along with the record in this matter and the previous briefing, Federal

 9 Defendants should be granted summary judgment on all of Plaintiff’s claims.

10

11

12 Respectfully submitted,

13
     DATED: March 14, 2021                        STEPHANIE M. HINDS
14
                                                  Assistant United States Attorney
15
                                                  By:       /s/ Julie Bibb Davis
16                                                JULIE BIBB DAVIS
                                                  Assistant United States Attorney
17                                                Attorneys for Federal Defendants
18
19

20

21

22

23

24

25

26

27

28
                                                        10
     SUPPLEMENTAL BRIEFING IN SUPPORT OF FEDERAL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     19-CV-04613 WHA
